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     8                     UNITED STATES DISTRICT COURT
     9                   CENTRAL DISTRICT OF CALIFORNIA
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    11    PATRICIA ANNE T. SAMSON,                   CASE No. CV-16-04839 GW (AGRx)
    12
                                                     [Assigned to the Hon. George H. Wu,
                                                     Courtroom 9D]
    13
                           Plaintiff,

    14
              v.                                     JUDGMENT IN A CIVIL
                                                     ACTION
    15
          WELLS FARGO BANK,
    16
          NATIONAL ASSOCIATION, a
          business, form unknown; and
    17
          DOES 1 through 100, inclusive,

    18
                           Defendants.               Complaint filed: May 20, 2016
    19
                                                     Trial Date:      March 10, 2020

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    23         The Court has ordered that the Plaintiff PATRICIA ANN T. SAMSON
    24   recover from the Defendant WELLS FARGO BANK, N.A., the amount of Five
    25   Hundred Thousand dollars ($500,000.00), which includes prejudgment interest
    26   at the rate of 6.16%, plus post judgment interest at the rate of 6.16% per annum,
    27   along with costs and attorneys' fees.
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                                        JUDGMENT IN A CIVIL ACTION
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     1         This action was tried by a jury with Judge George H. Wu presiding, and
     2   the jury has rendered a verdict.
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     4   Dated: March 25, 2020              __________________________________
     5                                      Hon. George H. Wu
                                            United States District Judge
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                                    JUDGMENT IN A CIVIL ACTION
